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 6
                          IN THE UNITED STATES DISTRICT COURT
 7                      FOR THE NORTHERN DISTRICT OF CALIFORNIA
 8
 9     SHANTA LATISE MORTON, individually                  Case No.
       and on behalf of all others similarly situated,
10                                                       CLASS ACTION COMPLAINT
                      Plaintiff,
11                                                       DEMAND FOR JURY TRIAL
       v.
12
13     MORTGAGE NETWORK INC., a
       Massachusetts company,
14
                      Defendants,
15
16              CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL

17          Plaintiff Shanta Latise Morton (“Plaintiff” or “Plaintiff Morton”) brings this Class Action

18   Complaint and Demand for Jury Trial against Defendant Mortgage Network, Inc. (“Defendant” or
19   “Mortgage Network”), to stop the Defendant from violating the Telephone Consumer Protection
20
     Act (“TCPA”) by making unsolicited calls to consumers who registered their phone numbers on
21
     the Do Not call registry (“DNC”), and to otherwise obtain injunctive and monetary relief for all
22
     persons injured by Defendant’s actions. Plaintiff alleges as follows upon personal knowledge as
23
24   to herself and her own acts and experiences, and, as to all other matters, upon information and

25   belief, including investigation conducted by her attorneys.

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                                                  PARTIES
 1
 2          1.        Plaintiff Morton is a Hayward, California resident.

 3          2.        Defendant Mortgage Network is an incorporation headquartered in Danvers,
 4 Massachusetts. Mortgage Network conducts business throughout this District, California, and the
 5
     United States.
 6
                                       JURISDICTION AND VENUE
 7
            3.        This Court has subject matter jurisdiction over this action under 28 U.S.C. § 1331,
 8
 9 as the action arises under the Telephone Consumer Protection Act, 47 U.S.C. §227 (“TCPA”).
10          4.        This Court has personal jurisdiction over Defendant and venue is proper in this

11 District under 28 U.S.C. § 1391(b) because Defendant conducts business in California, including
12 in this District, and the wrongful conduct leading to this case was directed by Defendant to the
13
     Plaintiff who is a resident of this District in connection with the business Defendant conducts here.
14
                                             INTRODUCTION
15
            5.        As the Supreme Court explained at the end of its term this year, “Americans
16
17 passionately disagree about many things. But they are largely united in their disdain for robocalls.
18 The Federal Government receives a staggering number of complaints about robocalls—3.7 million
19 complaints in 2019 alone. The States likewise field a constant barrage of complaints. For nearly
20
     30 years, the people’s representatives in Congress have been fighting back.” Barr v. Am. Ass’n of
21
     Political Consultants, No. 19-631, 2020 U.S. LEXIS 3544, at *5 (U.S. July 6, 2020).
22
            6.        The National Do Not Call Registry allows consumers to register their telephone
23
     numbers and thereby indicate their desire not to receive telephone solicitations at those numbers.
24

25 See 47 C.F.R. § 64.1200(c)(2).
26
27
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                7.       A listing on the Registry “must be honored indefinitely, or until the registration is
 1
 2 cancelled by the consumer or the telephone number is removed by the database administrator.” Id.

 3              8.       When Congress enacted the TCPA in 1991, it found that telemarketers called more
 4 than 18 million Americans every day. 105 Stat. 2394 at § 2(3).
 5
                9.       By 2003, due to more powerful autodialing technology, telemarketers were calling
 6
     104 million Americans every day. In re Rules and Regulations Implementing the TCPA of 1991,
 7
     18 FCC Rcd. 14014, ¶¶ 2, 8 (2003).
 8
 9              10.      The problems Congress identified when it enacted the TCPA have only grown

10 exponentially in recent years.
11              11.      Industry data shows that the number of robocalls made each month increased from
12 831 million in September 2015 to 4.7 billion in December 2018—a 466% increase in three years.
13
                12.      According to online robocall tracking service “YouMail,” 4.1 billion robocalls were
14
     placed in October 2021 alone, at a rate of 133.2 million calls per day. www.robocallindex.com.
15
     (Last checked November 10, 2021).
16
17              13.      The FCC also has received an increasing number of complaints about unwanted

18 calls, with 150,000 complaints in 2016, 185,000 complaints in 2017, and 232,000 complaints in
19 2018. FCC, Consumer Complaint Data Center, www.fcc.gov/consumer-help-center-data.
20
                14.      “Robocalls and telemarketing calls are currently the number one source of
21
     consumer complaints at the FCC.” Tom Wheeler, Cutting off Robocalls (July 22, 2016), statement
22
     of FCC chairman.1
23
                15.      “The FTC receives more complains about unwanted calls than all other complaints
24

25 combined.” Staff of the Federal Trade Commission’s Bureau of Consumer Protection, In re Rules
26
     1
27       https://www.fcc.gov/news-events/blog/2016/07/22/cutting-robocalls
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     and Regulations Implementing the Telephone Consumer Protection Act of 1991, Notice of
 1
                                                           2
 2 Proposed Rulemaking, CG Docket No. 02-278, at 2 (2016).

 3                                        COMMON ALLEGATIONS
 4           16.     Mortgage Network is an independent mortgage banker.3
 5
             17.     Mortgage Network makes telemarketing calls to consumers in order to solicit its
 6
     mortgage products.
 7
             18.     Defendant makes telemarketing calls to residential telephone consumers whose
 8
 9 numbers are registered on the Do Not Call registry, who have never provided their phone number
10 to Defendant, and who never consented to receive phone calls from the Defendant.
11           19.     For example, Plaintiff Morton received multiple calls from or on behalf of
12 Mortgage Network even despite never having given her phone number to the Defendant, despite
13
     having her phone number registered on the DNC to prevent such cold calls, and despite making
14
     clear requests to the Defendant to stop the calls to her.
15
             20.     Defendant Mortgage Network hires employees to place cold calls to consumers to
16
17 solicit their loans and mortgage plans to the consumers:
18
19
20
21
22
23
24

25
26   2
       https://www.ftc.gov/system/files/documents/advocacy_documents/comment-staff-ftc-bureau-consumer-protection-
     federal-communications-commission-rules-regulations/160616robocallscomment.pdf
     3
27     https://www.linkedin.com/company/mortgage-network-inc-/about/
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13
14
               21.      In response to these unsolicited calls, Plaintiff Morton files this lawsuit seeking
15
     monetary and injunctive relief requiring the Defendant to cease from violating the Telephone
16
     Consumer Protection Act, as well as an award of statutory damages to the members of the Classes
17
     and costs.
18
19                                 PLAINTIFF MORTON’S ALLEGATIONS

20             22.      Plaintiff Morton’s phone number ending xxx-xxx-4469, is registered on the DNC
21 since January 7, 2005.
22
               23.      Plaintiff Morton uses her phone number for personal use only.
23
               24.      Plaintiff Morton has been receiving unwanted solicitation calls from or on behalf
24
     of the Defendant from multiple phone numbers.
25
26
     4
27       https://www.linkedin.com/jobs/view/mortgage-loan-officer-at-mortgage-network-inc-2764991182/
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             25.     The calls are addressed to someone named Olga, and the Plaintiff has informed the
 1
 2 Defendant’s employees on multiple occasions that this phone number belongs to her, not Olga,

 3 and has instructed the Defendant on multiple occasions to stop calling her phone.
 4           26.     On July 25, 2021, at 10:51 AM, Plaintiff received a call on her phone from the
 5
     Defendant using the phone number 916-907-6693, soliciting mortgage plans.
 6
             27.     On August 13, 2021, at 9:49 AM, Plaintiff received a call on her phone from the
 7
     Defendant using the phone number 916-603-5673, soliciting mortgage plans.
 8
 9           28.     On August 18, 2021, at 12:49 AM, Plaintiff received a call on her phone from the

10 Defendant using the phone number 916-603-5673, soliciting mortgage plans. The caller was
11 looking for someone named Olga, and they identified the company as Defendant Mortgage
12 Network. Plaintiff informed the Defendant’s agent that she was not Olga, and that she has already
13
     informed Defendant Mortgage Network to not call her phone, and that they should remove her
14
     from their calling lists.
15
             29.     Defendant uses new phone numbers to call the Plaintiff each time, and these
16
17 numbers are not capable of receiving calls. Plaintiff has not been able to call back any of these
18 phone numbers from which she was called by, or on behalf of, the Defendant.
19           30.     Plaintiff Morton never consented to receiving solicitation calls from Defendant
20
     Mortgage Network and did not have a prior relationship with the Defendant.
21
             31.     The unauthorized telephone calls placed by Defendant, as alleged herein, have
22
     harmed Plaintiff Morton in the form of annoyance, nuisance, and invasion of privacy, and
23
     disturbed the use and enjoyment of her phone, in addition to the wear and tear on the phone’s
24

25 hardware (including the phone’s battery) and the consumption of memory on the phone.
26
27
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            32.     Seeking redress for these injuries, Plaintiff Morton, on behalf of herself and Classes
 1
 2 of similarly situated individuals, bring suit under the Telephone Consumer Protection Act, 47

 3 U.S.C. § 227, et seq., which prohibits unsolicited telemarketing calls to phone numbers that are
 4 registered on the DNC.
 5
                                   CLASS ACTION ALLEGATIONS
 6
            33.     Plaintiff Morton brings this action pursuant to Federal Rules of Civil Procedure
 7
     23(b)(2) and 23(b)(3) and seek certification of the following Classes:
 8
 9          Do Not Call Registry Class: All persons in the United States who from four years prior
            to the filing of this action through trial (1) Defendant, or an agent calling on behalf of
10          Defendant, called more than one time, (2) within any 12-month period, (3) where the
            person’s telephone number had been listed on the National Do Not Call Registry for at
11
            least thirty days, (4) for substantially the same reason Defendant called Plaintiff, and (5)
12          for whom the Defendant or its agent claims they obtained the person’s number in the same
            manner as Defendant or its agent obtained Plaintiff’s number.
13
            Internal Do Not Call Class: All persons in the United States who from four years prior to
14          the filing of this action through class certification (1) Defendant or its agent called more
            than one time (2) within any 12-month period (3) for substantially the same reason
15          Defendant or its agent called Plaintiff, (4) including at least once after the person requested
            that Defendant or its agent to stop calling.
16
17
            34.     The following individuals are excluded from the Classes: (1) any Judge or
18
     Magistrate presiding over this action and members of their families; (2) Defendant, their
19
     subsidiaries, parents, successors, predecessors, and any entity in which either Defendant or their
20
21 parents have a controlling interest and their current or former employees, officers and directors;
22 (3) Plaintiff’s attorneys; (4) persons who properly execute and file a timely request for exclusion
23 from the Classes; (5) the legal representatives, successors or assigns of any such excluded persons;
24 and (6) persons whose claims against the Defendant has been fully and finally adjudicated and/or

25
     released. Plaintiff Morton anticipates the need to amend the Class definitions following appropriate
26
     discovery.
27
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            35.     Typicality and Numerosity: Plaintiff is a member of the Classes, and on
 1
 2 information and belief, there are hundreds, if not thousands of members of the Classes, all of which

 3 received calls from Defendant as part of a single telemarketing campaign, and joinder of all
 4 members is impracticable.
 5
            36.     Commonality and Predominance: There are many questions of law and fact
 6
     common to the claims of the Plaintiff and the Classes, and those questions predominate over any
 7
     questions that may affect individual members of the Classes. Common questions for the Classes
 8
 9 include, but are not necessarily limited to the following:
10          (a)     Whether Defendant’s conduct violated the TCPA;

11          (b)     Whether the Defendant or an agent calling on behalf of Defendant placed multiple
12                  calls within a 12-month period to Plaintiff and other consumers whose telephone
13
                    numbers were registered with the DNC for at least 30 days at the time of each call;
14
            (c)     whether the Defendant or an agent calling on behalf of Defendant engaged in
15
                    telemarketing without implementing adequate internal policies and procedures for
16
17                  maintaining an internal do not call list;

18          (d)     whether members of the Classes are entitled to treble damages based on the

19                  willfulness of Defendant’s conduct.
20
            37.     Adequate Representation: Plaintiff Morton will fairly and adequately represent
21
     and protect the interests of the Classes, and has retained counsel competent and experienced in
22
     class actions. Plaintiff Morton has no interests antagonistic to those of the Classes, and Defendant
23
     has no defenses unique to Plaintiff. Plaintiff Morton and her counsel are committed to vigorously
24

25 prosecuting this action on behalf of the members of the Classes, and have the financial resources
26 to do so. Neither Plaintiff Morton nor her counsel have any interest adverse to the Classes.
27
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            38.     Appropriateness: This class action is also appropriate for certification because the
 1
 2 Defendant has acted or refused to act on grounds generally applicable to the Classes as a whole,

 3 and thereby requiring the Court’s imposition of uniform relief to ensure compatible standards of
 4 conduct toward the members of the Classes and making final class-wide injunctive relief
 5
     appropriate. Defendant’s business practices apply to and affect the members of the Classes
 6
     uniformly, and Plaintiff’s challenge of those practices hinges on Defendant’s conduct with respect
 7
     to the Classes as a whole, not on facts or law applicable only to Plaintiff Morton. Additionally, the
 8
 9 damages suffered by individual members of the Classes will likely be small relative to the burden
10 and expense of individual prosecution of the complex litigation necessitated by Defendant’s
11 actions. Thus, it would be virtually impossible for the members of the Classes to obtain effective
12 relief from Defendant’s misconduct on an individual basis. A class action provides the benefits of
13
     single adjudication, economies of scale, and comprehensive supervision by a single court.
14
                                    FIRST CLAIM FOR RELIEF
15                               Telephone Consumer Protection Act
                                     (Violation of 47 U.S.C. § 227)
16                (On Behalf of Plaintiff Morton and the Do Not Call Registry Class)
17          39.     Plaintiff repeats and realleges the prior paragraphs of this Complaint and
18 incorporates them by reference herein.
19
            40.     The TCPA’s implementing regulation, 47 C.F.R. § 64.1200(c), provides that “[n]o
20
21 person or entity shall initiate any telephone solicitation” to “[a] residential telephone subscriber
22 who has registered his or his telephone number on the national do-not-call registry of persons who
23 do not wish to receive telephone solicitations that is maintained by the federal government.”
24
            41.     Any “person who has received more than one telephone call within any 12-month
25
     period by or on behalf of the same entity in violation of the regulations prescribed under this
26
27 subsection may” may bring a private action based on a violation of said regulations, which were
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     promulgated to protect telephone subscribers’ privacy rights to avoid receiving telephone
 1
 2 solicitations to which they object. 47 U.S.C. § 227(c).

 3
            42.     Defendant violated 47 C.F.R. § 64.1200(c) by initiating, or causing to be initiated,
 4
     telephone solicitations to telephone subscribers such as Plaintiff Morton and the Do Not Call
 5
     Registry Class members who registered their respective telephone numbers on the National Do
 6
     Not Call Registry, a listing of persons who do not wish to receive telephone solicitations that is
 7
 8 maintained by the federal government.
 9
            43.     Defendant violated 47 U.S.C. § 227(c)(5) because Plaintiff Morton and the Do Not
10
     Call Registry Class received more than one telephone call in a 12-month period made by or on
11
     behalf of the Defendant in violation of 47 C.F.R. § 64.1200, as described above.
12
13          44.     As a result of Defendant’s conduct as alleged herein, Plaintiff Morton and the Do

14 Not Call Registry Class suffered actual damages and, under section 47 U.S.C. § 227(c), are
15
     entitled, inter alia, to receive up to $500 in damages for each of such violations of 47 C.F.R. §
16
     64.1200.
17
18          45.     To the extent Defendant’s misconduct is determined to be willful and knowing, the

19 Court should, pursuant to 47 U.S.C. § 227(c)(5), treble the amount of statutory damages
20 recoverable by the members of the Do Not Call Registry Class.
21
                                   SECOND CLAIM FOR RELIEF
22                               Telephone Consumer Protection Act
                                     (Violation of 47 U.S.C. § 227)
23                (On Behalf of Plaintiff Morton and the Internal Do Not Call Class)
24          46.     Plaintiff repeats and realleges paragraphs 1 through 38 of this Complaint and

25 incorporates them by reference herein.
26
27
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           47.     Under 47 C.F.R. § 64.1200(d), “[n]o person or entity shall initiate any call for
 1
 2 telemarketing purposes to a residential telephone subscriber unless such person or entity has

 3 instituted procedures for maintaining a list of persons who request not to receive telemarketing
 4 calls made by or on behalf of that person or entity. The procedures instituted must meet the
 5
     following minimum standards:
 6
                   (1) Written policy. Persons or entities making calls for telemarketing
 7                 purposes must have a written policy, available upon demand, for
                   maintaining a do-not-call list
 8
                   (2) Training of personnel engaged in telemarketing. Personnel engaged
 9                 in any aspect of telemarketing must be informed and trained in the
                   existence and use of the do-not-call list.
10
                   (3) Recording, disclosure of do-not-call requests. If a person or entity
11                 making a call for telemarketing purposes (or on whose behalf such a
12                 call is made) receives a request from a residential telephone subscriber
                   not to receive calls from that person or entity, the person or entity must
13                 record the request and place the subscriber's name, if provided, and
                   telephone number on the do-not-call list at the time the request is
14                 made. Persons or entities making calls for telemarketing purposes (or
                   on whose behalf such calls are made) must honor a residential
15
                   subscriber's do-not-call request within a reasonable time from the date
16                 such request is made. This period may not exceed thirty days from the
                   date of such request. If such requests are recorded or maintained by a
17                 party other than the person or entity on whose behalf the
                   telemarketing call is made, the person or entity on whose behalf the
18                 telemarketing call is made will be liable for any failures to honor the
19                 do-not-call request. A person or entity making a call for telemarketing
                   purposes must obtain a consumer's prior express permission to share
20                 or forward the consumer's request not to be called to a party other than
                   the person or entity on whose behalf a telemarketing call is made or an
21                 affiliated entity.
22                 (4) Identification of sellers and telemarketers. A person or entity
                   making a call for telemarketing purposes must provide the called party
23                 with the name of the individual caller, the name of the person or entity
24                 on whose behalf the call is being made, and a telephone number or
                   address at which the person or entity may be contacted. The telephone
25                 number provided may not be a 900 number or any other number for
                   which charges exceed local or long distance transmission charges.
26
27
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                    (5) Affiliated persons or entities. In the absence of a specific request by
 1
                    the subscriber to the contrary, a residential subscriber's do-not-call
 2                  request shall apply to the particular business entity making the call (or
                    on whose behalf a call is made), and will not apply to affiliated entities
 3                  unless the consumer reasonably would expect them to be included
                    given the identification of the caller and the product being advertised.
 4
 5                  (6) Maintenance of do-not-call lists. A person or entity making calls for
                    telemarketing purposes must maintain a record of a consumer's
 6                  request not to receive further telemarketing calls. A do-not-call request
                    must be honored for 5 years from the time the request is made
 7
            48.     Defendant, or an agent calling on behalf of Defendant placed calls to Plaintiff and
 8
     members of the Internal Do Not Call Class without implementing internal procedures for
 9
10 maintaining a list of persons who request not to be called by the entity and/or by implementing
11 procedures that do not meet the minimum requirements to allow the Defendant or its agent to
12 initiate telemarketing calls.
13          49.     The TCPA provides that any “person who has received more than one telephone
14
     call within any 12-month period by or on behalf of the same entity in violation of the regulations
15
     prescribed under this subsection may” bring a private action based on a violation of said
16
     regulations, which were promulgated to protect telephone subscribers’ privacy rights to avoid
17
18 receiving telephone solicitations to which they object. 47 U.S.C. § 227(c)(5).
19          50.     The Defendant has, therefore, violated 47 U.S.C. § 227(c)(5). As a result of

20 Defendant’s conduct, Plaintiff and the other members of the Internal Do Not Call Class are each
21
     entitled to up to $1,500 per violation.
22
                                               PRAYER FOR RELIEF
23
            WHEREFORE, Plaintiff Morton individually and on behalf of the Classes, prays for the
24
     following relief:
25
26
27
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 1        a) An order certifying this case as a class action on behalf of the Classes, as defined above;
 2
              appointing Plaintiff Morton as the representative of the Classes; and appointing her
 3
              attorneys as Class Counsel;
 4
          b) An award of actual and/or statutory damages and costs;
 5

 6        c) An order declaring that Defendant’s actions, as set out above, violate the TCPA;

 7        d) An injunction requiring Defendant to cease all unsolicited calling activity, and to
 8            otherwise protect the interests of the Classes; and
 9
          e) Such further and other relief as the Court deems just and proper.
10

11                                              JURY DEMAND
12
           Plaintiff Morton requests a jury trial.
13

14                                                   Respectfully Submitted,

15                                                   SHANTA LATISE MORTON, individually and
                                                     on behalf of those similarly situated individuals
16

17
     DATED this 16th day of November, 2021.
18
                                                     By: /s/ Rachel E. Kaufman
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23                                                   Attorney for Plaintiff and the putative Classes
24

25

26

27
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